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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    HOWLINK GLOBAL LLC,                               §
                                                      §
            Plaintiff,                                §      CASE NO. 2:22-cv-00040-JRG-RSP
    v.                                                §      (Lead Case)
                                                      §
    AT&T, INC, ET AL.,                                §
                                                      §
    VERIZON COMMUNICATIONS, INC.,                     §      CASE NO. 2:22-cv-00042-JRG-RSP
    ET AL.,                                           §      (Member Case)
                                                      §
            Defendants.                               §

                                      PROTECTIVE ORDER

          WHEREAS, Plaintiff, Howlink Global LLC and Defendants AT&T, Inc, Verizon

   Communications, Inc., hereafter collectively referred to as “the Parties,” believe that certain

   information that is or will be encompassed by discovery demands by the Parties involves the

   production or disclosure of trade secrets, confidential business information, or other

   proprietary information;

          WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

   with Federal Rule of Civil Procedure 26(c):

          THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

   1.     Each Party may designate as confidential for protection under this Order, in whole or in

          part, any document, information or material that constitutes or includes, in whole or in

          part, confidential or proprietary information or trade secrets of the Party or a Third Party

          to whom the Party reasonably believes it owes an obligation of confidentiality with

          respect to such document, information or material (“Protected Material”). Protected

          Material shall be designated by the Party producing it by affixing a legend or stamp on




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           such document, information or material, or in the case of a native file, in the file name,

           as follows: “CONFIDENTIAL”, “RESTRICTED - ATTORNEYS’ EYES ONLY,” or

           “RESTRICTED CONFIDENTIAL SOURCE CODE” (the “Designation”) The

           Designation shall be placed clearly on each page of the Protected Material (except

           deposition and hearing transcripts) for which such protection is sought. For deposition

           and hearing transcripts, the Designation shall be placed on the cover page of the

           transcript (if not already present on the cover page of the transcript when received from

           the court reporter) by each attorney receiving a copy of the transcript after that

           attorney   receives       notice of the designation of some or all of that transcript as

           “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED

           CONFIDENTIAL SOURCE CODE.”

      2.   Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

           Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes

           Only” shall receive the same treatment as if designated “RESTRICTED -

           ATTORNEYS’ EYES ONLY” under this Order, unless and until such document is

           redesignated to have a different classification under this Order.

      3.   With respect to documents, information or material designated “CONFIDENTIAL,

           “RESTRICTED           -     ATTORNEYS’        EYES     ONLY,”       or   “RESTRICTED

           CONFIDENTIAL SOURCE CODE” (collectively “DESIGNATED MATERIAL”), 1

           subject to the provisions herein and unless otherwise stated, this Order governs,

           without limitation: (a) all documents, electronically stored information, and/or things


  1
   The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
  class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES
  ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
  collectively.



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        as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing or

        deposition testimony, or documents marked as exhibits or for identification in

        depositions and hearings; (c) pretrial pleadings, exhibits to pleadings and other court

        filings; (d) affidavits; and (e) stipulations. All copies, reproductions, extracts, digests

        and complete or partial summaries prepared from any DESIGNATED MATERIALS

        shall also be considered DESIGNATED MATERIAL and treated as such under this

        Order.

   4.   To the extent that any one of the Defendants, or any future parties who intervene in this

        litigation, provides DESIGNATED MATERIAL under the terms of this Protective

        Order to Plaintiff, Plaintiff shall not share that material with any other Defendants or

        future parties in this litigation, unless pursuant to the following procedure absent

        express written permission from the Producing Party. This Order does not confer any

        right to any one Defendant or future intervenors to access the DESIGNATED

        MATERIAL of any other Defendant or future intervenors.

   5.   A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

        ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE

        CODE”) may be made at any time. Inadvertent or unintentional production of

        documents, information or material that has not been designated as DESIGNATED

        MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

        treatment. Any party that inadvertently or unintentionally produces Protected Material

        without designating it as DESIGNATED MATERIAL may request destruction of that

        Protected Material by notifying the recipient(s), as soon as reasonably possible after the

        Producing Party becomes aware of the inadvertent or unintentional disclosure, and




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        providing replacement Protected Material that is properly designated. The recipient(s)

        shall then destroy all copies of the inadvertently or unintentionally produced Protected

        Materials and any documents, information or material derived from or based thereon.

   6.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

        following persons, except upon receipt of the prior written consent of the designating

        party, upon order of the Court, or as set forth in paragraph 16 herein:

        (a)    outside counsel of record in this Action for the Parties;

        (b)    employees of such counsel assigned to and reasonably necessary to assist such
               counsel in the litigation of this Action;

        (c)    in-house counsel for the Parties who either have responsibility for making
               decisions dealing directly with the litigation of this Action, or who are assisting
               outside counsel in the litigation of this Action, except that in-house counsel for
               a Defendant or any future intervenors shall not have access to the information
               or materials of any other Defendant or intervenor;

        (d)    outside consultants or experts and their staff (i.e., not existing employees or
               affiliates of a Party or an affiliate of a Party) retained for the purpose of this
               litigation, provided that: (1) such consultants or experts are not presently
               employed by the Parties hereto for purposes other than this Action; (2) and the
               Receiving Party and outside expert or consultant has complied with Paragraph
               7 of this order;

        (e)    independent litigation support services, including persons working for or as
               court reporters, graphics or design services, independent legal translating
               services, jury or trial consulting services, and photocopy, document imaging,
               and database services retained by counsel and reasonably necessary to assist
               counsel with the litigation of this Action; and
        (f)    any mediator who is assigned to hear this matter, and his or her staff, subject to
               their agreement to maintain confidentiality to the same degree as required by
               this Protective Order;

        (g)    the Court and its personnel.

   7.   Procedure for Disclosing Protected Material to Experts and Consultants. Prior to

        disclosure of Protected Material to any outside consultant or expert including their

        administrative and clerical staff whose duties and responsibilities require access to




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          such materials to be authorized under Paragraph 6(d) of this order, the consultant or

          expert must execute the Undertaking attached as Appendix A to this order and the

          Receiving Party must serve on the Producing Party a copy of the Undertaking, a current

          copy of the expert or consultant’s CV, a list of the expert or consultant’s testifying and

          consulting work 2 for the preceding 5 years (to the extent not included in the CV)

          (“Notice”). The Producing Party may object in writing to the disclosure within ten (10)

          days. At the expiration of the ten days, if no written objection is made, then the outside

          consultant or expert and their staff may access DESIGANTED MATERIAL. The

          Parties agree to promptly confer and use good faith to resolve any such objection. If the

          Parties are unable to resolve any objection, the objecting Party may file a motion with

          the Court within seven (7) days of the Notice, or within such other time as the Parties

          may agree, seeking a protective order with respect to the proposed disclosure. The

          objecting Party shall have the burden of proving the need for a protective order. No

          disclosure shall occur until all such objections are resolved by agreement or Court

          order. This disclosure and objection procedure applies to each Producing Party

          separately. No disclosure of DESIGNATED MATERIAL may be provided to an

          expert or consultant that is involved in competitive decision-making, as defined by U.S.

          Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or

          a competitor of a Party. With respect to an expert or consultant retained by a

          Defendant, without the express prior written consent of the Defendant or future

          intervening party that produced the DESIGNATED MATERIAL, no expert or

          consultant retained by a Defendant in this matter shall have access to DESIGNATED
  2
   To the extent the consulting work was a confidential engagement, the expert many anonymize
  this disclosure while still providing enough detail for the Producing Party to evaluate a direct
  conflict.



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         MATERIAL produced by another Defendant or future intervenors.

   8.    A Party shall designate documents, information or material as “CONFIDENTIAL”

         only upon a good faith belief that the documents, information or material contains

         confidential, commercially sensitive, or proprietary information or trade secrets of the

         Party or a Third Party to whom the Party reasonably believes it owes an obligation of

         confidentiality with respect to such documents, information or material.

   9.    Documents, information or material produced pursuant to any discovery request in this

         Action, including but not limited to Protected Material designated as DESIGNATED

         MATERIAL, shall be used by the Parties only in the litigation of this Action and shall

         not be used for any other purpose. Any person or entity who obtains access to

         DESIGNATED MATERIAL or the contents thereof pursuant to this Order shall not

         make any copies, duplicates, extracts, summaries or descriptions of such

         DESIGNATED MATERIAL or any portion thereof except as may be reasonably

         necessary in the litigation of this Action. Any such copies, duplicates, extracts,

         summaries or descriptions shall be classified DESIGNATED MATERIALS and

         subject to all of the terms and conditions of this Order.

   10.   To the extent a Producing Party believes that certain Protected Material qualifying to

         be designated CONFIDENTIAL is so sensitive that its dissemination deserves even

         further limitation, the Producing Party may designate such Protected Material

         “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or to the extent such Protected

         Material includes computer source code and/or live data (that is, data as it exists residing

         in a database or databases) (“Source Code Material”), or substantively relates to a

         Party’s Source Code Material, which for clarity shall include but is not limited to




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         documents containing confidential, proprietary and/or trade secret source code,

         including computer code, scripts, assembly, object code, source code listings and

         descriptions of source code, object code listings and descriptions of object code, and

         Hardware Description Language (HDL), Register Transfer Level (RTL) files that

         describe the hardware design of any ASIC or other chip, and/or live data (that is, data as

         it exists residing in a database or databases that is specifically related to source code and

         not financial or other data), the Producing Party may designate such Protected Material

         as “RESTRICTED CONFIDENTIAL SOURCE CODE.”

   11.   For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY,

         access to, and disclosure of, such Protected Material shall be limited to individuals

         listed in paragraphs 6(a-b) and (d-g).

   12.   For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE

         CODE, the following additional restrictions apply:

            (a) Access to a Party’s Source Code Material shall be limited to the offices of the
                Producing Party’s outside counsel.

            (b) Access to a Party’s Source Code Material shall be provided only on “stand-
                alone” computer(s) (that is, the computer may not be linked to any network,
                including a local area network (“LAN”), an intranet or the Internet), that is
                password protected, maintained in a secure, locked area, and disabled from
                having external storage devices attached to it (“Source Code Computer”).

            (c) Source Code Material on the Source Code Computer shall be produced in
                native form as kept in the ordinary course of business.

            (d) The stand-alone computer(s) may be capable of storing .pdf copies of Source
                Code material to the desktop solely for the limited purpose of production
                pursuant to paragraphs 12 (l). Use or possession of any input/output device or
                other electronic device (e.g., USB memory stick, cameras or any camera-
                enabled device, CDs, floppy disk, portable hard drive, laptop, cellular
                telephones, PDA, smartphones, voice recorders, etc.) is prohibited while in the
                secured, locked area containing the stand-alone computer. Additionally, the
                stand-alone computer(s) may only be located at the offices of the Producing




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              Party’s outside counsel, unless otherwise agreed to in writing.

               In addition to the stand-alone Source Code Computer, the Producing Party
              shall make available within the Source Code Review Room a laptop computer
              with no network connection or camera functionality (the “Notetaking
              Computer”) for purposes of enabling the Receiving Party’s outside counsel
              and/or experts to take notes relating to the Source Code. The Notetaking
              Computer shall have pre- installed a commercially reasonable text editing
              program, Microsoft Excel or OpenOffice Calc spreadsheet software, and a
              program for notetaking that has encryption capability, such as Microsoft
              OneNote. The Receiving Party’s outside counsel and/or experts may use the
              computer for the purposes of taking notes relating to the Source Code. The
              Receiving Party shall, at the end of each review day, store its notes within an
              encrypted volume. Upon completion of each review day, the Producing Party
              shall, upon request by the Receiving Party, provide the Receiving Party with an
              electronic storage medium, such as a USB storage device, containing the
              encrypted volume file with the notes taken by the Receiving Party. At the start
              of each review day, the Producing Party also shall, upon request by the
              Receiving Party, copy an updated encrypted volume file containing any revised
              notes taken by the Receiving Party, from such electronic storage medium onto
              the Notetaking Computer, for further editing. The Receiving Party shall
              maintain any notes removed from the Source Code Review Room in the
              encrypted form described above at all times when storing or transmitting them.
              The Producing Party shall not monitor or review any notes taken on the
              Notetaking Computer, shall not receive the encryption password, and shall not
              interact with any note files on the computer in any way except to transfer the
              encrypted volume files, without reviewing their contents, to and from a USB
              storage medium as described above. The use of such computer shall not be
              asserted to be a waiver of any privilege or protection. The Receiving Party’s
              outside counsel and/or experts shall be entitled to take notes relating to the
              Source Code on the Notetaking Computer but may not copy the Source Code
              into the notes and may not take such notes electronically on the Source Code
              Computer itself or any other computer other than the Notetaking Computer.
              The Receiving Party’s outside counsel and/or experts may not transcribe any
              full lines of Source Code into the notes;

           (e) The Source Code Computer(s) will be made available for inspection until at
               least the close of expert discovery in this action (and after for good cause) during
               normal business hours, which for purposes of this paragraph shall be 9:00 a.m.
               through 5:00p.m. local time, on business days (i.e. weekdays that are not
               Federal or local holidays). However, upon reasonable notice from the receiving
               party, the Producing Party shall make reasonable efforts to accommodate the
               Receiving Party’s request for access to the stand-alone computer(s) outside of
               normal business hours. The Parties agree to cooperate in good faith such that
               maintaining the Producing Party’s Source Code Material at the offices of its




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              outside counsel shall not unreasonably hinder the Receiving Party’s ability to
              efficiently and effectively conduct the prosecution or defense of this Action. No
              Defendant shall be required to make Source Code available for inspection prior
              to the date set forth in the Court’s scheduling order for producing documents;

           (f) Prior to the first inspection of any requested Source Code Material, the
               Receiving Party shall provide at least ten (10) business days’ notice of the
               Source Code Material that it wishes to inspect, but the Receiving Party will
               work in good faith to provide earlier notice. Thereafter, the Receiving Party
               shall provide reasonable written notice to the Producing Party, which shall not
               be less than four (4) days. In the event a Receiving Party intends to continue its
               review to the next business day, it shall provide written notice by 1:00 p.m.
               (local time at the review location). A list of names of persons who will view the
               Source Code Material will be provided to the Producing Party in conjunction
               with any written (including email) notice requesting inspection. The Receiving
               Party shall maintain a daily log of the names of persons who enter the rooms to
               view the Source Code and when they enter and depart. The Producing Party
               shall be entitled to have a person observe all entrances and exits from the
               Source Code viewing room, and a copy of the log upon request.

           (g) The Producing Party shall provide the Receiving Party with information
               explaining how to start, log on to, and operate the stand-alone computer(s) in
               order to access the produced Source Code Material on the stand-alone
               computer(s);

           (h) The Producing Party will produce Source Code Material in computer
               searchable format on the stand-alone computer(s) as described above and
               include review tools requested by the Receiving Party, including at least the
               following review tools. If these tools require a license which is not previously
               held by the Producing Party, the Receiving Party shall provide the Producing
               Party with a CD or DVD containing the licensed software tool(s) at least five
               (5) days in advance of the date upon which the Receiving Party wishes to have
               the additional licensed software tool(s) available for use on the Source Code
               Computers(s):

              For Linux:
                    •   gedit: text editor
                    •   grep: text string search tool
                    •   diff: text file comparator
                    •   gawk or awk: text parsing tool
                    •   enscript: text printing tool




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                    •   pdf viewer

               For Windows:
                    • Notepad++: text editor (available at https://notepad-
                       plus- plus.org/downloads/)
                    • dnGrep: string search tool: (available at
                       https://github.com/dnGrep/dnGrep/releases/download/v3.0.42.0/dnG
                       RE P.3.0.42.x64.msi for Windows 64 bit,
                       https://github.com/dnGrep/dnGrep/releases/download/v3.0.42.0/dnG
                       RE P.3.0.42.x86.msi for Windows 32 bit)
                    • WinMerge: text file comparator (available at
                       https://github.com/WinMerge/winmerge/releases/download/v2.16.18/
                       W inMerge-2.16.18-x64-Setup.exe for Windows 64 bit,
                       https://github.com/WinMerge/winmerge/releases/download/v2.16.18/
                       W inMerge-2.16.18-Setup.exe for Windows 32 bit.)
                    • adobe reader;Notepad++ (32 bit) https://notepad-plus-plus.org/
                    • Notepad++ Plugins (Open Notepad, Select Plugins Menu-
                       >Plugins Admin... check SourceCookifier, File Switcher and
                       Install)
                    • Alternatively, extract zip to plugins dir in Program Files/Notepad++)
                    • SourceCookifier - http://sourceforge.net/projects/sourcecookifier/
                    • File Switcher -
                       https://sourceforge.net/projects/npp-
                       plugins/files/File%20Switcher/
                    • Effective File Search - http://www.sowsoft.com/search.htm
                    • WinDirStat - https://windirstat.net/download.html

               Source code reviewers are permitted to bring paper and pen to take notes while
               in the source code review room. The Receiving Party’s outside counsel and/or
               expert shall be entitled to take notes relating to the Source Code Material
               (either on paper or on the Notetaking computer) but may not copy any portion
               of the Source Code Material into notes. Any notes relating to the Source Code
               Material will be treated as “RESTRICTED CONFIDENTIAL – SOURCE
               CODE.” The Producing Party may visually monitor the activities of the
               Receiving Party’s representative(s) during any Source Code review, but only to
               ensure that there is no unauthorized recording, copying, or transmission of the
               Source Code Material. Unless otherwise agreed in advance by the Parties in
               writing, following each inspection, the Receiving Party’s outside counsel
               and/or experts shall remove all notes, documents, and all other materials from
               the room that may contain work product and/or attorney-client privileged
               information. The Producing Party shall not be responsible for any items left in
               the room following each inspection session.




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              (i) Access to Protected Material designated RESTRICTED CONFIDENTIAL -
                  SOURCE CODE shall be limited to outside counsel and the consultants or
                  experts 3 (i.e., not existing employees or affiliates of a Party or an affiliate of a
                  Party) retained for the purpose of this litigation and approved to access such
                  Protected Materials pursuant to paragraph 6(e) above. A Receiving Party may
                  include excerpts of Source Code Material in a pleading, exhibit, expert report,
                  discovery document, deposition transcript, other Court document, subject to the
                  limitations of Footnote 3, below, provided that the Source Code Documents are
                  appropriately marked under this Order, restricted to those who are entitled to
                  have access to them as specified herein, and, if filed with the Court, filed under
                  seal in accordance with the Court’s rules, procedures and orders. In no case
                  shall any information designated as RESTRICTED CONFIDENTIAL –
                  SOURCE CODE by a Defendant or by any future intervenor be provided to any
                  other Defendant, intervenor, or their counsel, by any Party or counsel absent
                  explicit agreement from the Producing Party;

              (j) To the extent portions of Source Code Material are quoted in a Source Code
                  Document, either (1) the entire Source Code Document will be stamped and
                  treated as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages
                  containing quoted Source Code Material will be separately stamped and treated
                  as RESTRICTED CONFIDENTIAL SOURCE CODE;

              (k) Except as set forth in paragraph 12(m) below, no electronic copies of Source
                  Code Material shall be made without prior written consent of the Producing
                  Party, except as necessary to create documents which, pursuant to the Court’s
                  rules, procedures and order, must be filed or served electronically. 4 The
                  Receiving Party shall only make additional paper copies of selected excerpts of
                  Source Code if such additional copies are reasonably necessary for any filing with
                  the Court or service of any pleading or other paper on any Party. For making paper
                  copies of selected excerpts of Source Code for any other purpose, the Receiving Party

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    For the purposes of this paragraph, an outside consultant or expert is defined to include the
  outside consultant’s or expert’s direct reports and other support personnel, such that the
  disclosure to a consultant or expert who employs others within his or her firm to help in his or her
  analysis shall count as a disclosure to a single consultant or expert.
  4
    For clarification, a party may identify source code file names, function names, and variable
  names in notes. To the extent a party feels the need to include an excerpt(s) of Source Code in
  expert reports and/or infringement contentions for a claim element(s), it shall be required to
  identify the relevant source code as specifically as possible in the expert reports and/or
  infringement contentions, and in no event shall any source code excerpt be more than 15
  contiguous lines of code, unless such section of code concerns a function or routine that is longer
  than 15 lines. A Receiving Party may prepare and serve such expert reports and infringement
  contentions electronically.



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               shall request permission from the Producing Party to make any paper copies.;

            (l) The Receiving Party shall be permitted to request that each Producing Party
                make a reasonable number of printouts and photocopies of Source Code
                Material, all of which shall be designated and clearly labeled “RESTRICTED
                CONFIDENTIAL SOURCE CODE.” The Producing Party will comply with
                all such requests for printouts within five (5) business days of the request, and
                the Receiving Party shall maintain a log of all such files that are printed or
                photocopied. In no event may the Receiving Party print any continuous block of
                Source Code that results in more than 35 printed pages (unless more pages are
                necessary to show a complete function or routine), or an aggregate total of more
                than 1,000 pages, for each Producing Party’s Source Code, during the duration
                of the case without prior written approval by the Producing Party, and the
                Producing Party shall not unreasonably withhold or delay such approval. The
                printed pages shall constitute part of the Source Code Material produced by the
                Producing Party in this action. At the Receiving Parties’ request, up to eight (8)
                additional sets (or subsets) of printed Source Code may be requested, and the
                Producing Party shall provide the additional sets by overnight mail or other
                mutually agreed method within three business days after receiving the request;

            (m) The Receiving Party shall not create any electronic or other images of any
                printed pages of Source Code or any other documents or things reflecting
                Source Code Material that have been designated by the Producing Party as
                “RESTRICTED CONFIDENTIAL SOURCE CODE,” except as necessary to
                create documents which, pursuant to the Court’s rules, procedures and order,
                must be filed or served electronically. A Receiving Party may include excerpts
                of “RESTRICTED CONFIDENTIAL SOURCE CODE” in a pleading, exhibit,
                expert report, discovery document, deposition transcript, other Court document,
                provided that the Source Code Documents are appropriately marked under this
                Order, restricted to those who are entitled to have access to them as specified
                herein, and, if filed with the Court, filed under seal in accordance with the
                Court’s rules, procedures and orders. Any such excerpt of Source Code
                Material shall not exceed 15 continuous lines and shall not exceed 45 lines per
                source code file (unless more lines are necessary to show a complete function
                or routine) without prior written approval by the Producing Party, and the
                Producing Party shall not unreasonably withhold or delay such approval. For
                clarity, should such printouts or photocopies be in electronic media, such
                media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE”
               and shall continue to be treated as such;

            (n) If the Receiving Party’s outside counsel, consultants, or experts obtain printouts




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                  or photocopies of Source Code Material, the Receiving Party shall ensure that
                  such outside counsel, consultants, or experts keep the printouts or photocopies
                  in a secured locked area in the offices of such outside counsel, consultants, or
                  expert. The Receiving Party may also temporarily keep the printouts or
                  photocopies at: (i) the Court for any proceedings(s) relating to the Source Code
                  Material, for the dates associated with the proceeding(s); (ii) the sites where
                  any deposition(s) relating to the Source Code Material are taken, for the dates
                  associated with the deposition(s); and (iii) any intermediate location reasonably
                  necessary to transport the printouts or photocopies (e.g., a hotel prior to a Court
                  proceeding or deposition); and

              (o) A Producing Party’s Source Code Material may only be transported by the
                  Receiving Party at the direction of a person authorized under paragraph 13(i)
                  above to another person authorized under paragraph 13(i) above, on paper via
                  hand carry, Federal Express or other similarly reliable courier. Any such paper
                  copies or notes, analyses, or descriptions of such paper copies of Source Code
                  shall be maintained at all times in a secure location and in a manner that
                  prevents duplication of or unauthorized access to the Source Code Material,
                  including, without limitation, storing the Source Code in a locked room or
                  cabinet at all times, when it is not in use. When in transport from one of the
                  above approved locations to another, the Receiving Party shall take reasonable
                  measures to secure the Source Code. Source Code Material may not be
                  transported or transmitted electronically over a network of any kind, including
                  a LAN, an intranet, or the Internet. Source Code Material may only be
                  transported outside of the offices and homes 5 of outside counsel for the
                  Receiving Party or the experts or consultants who have been approved to access
                  Source Code for (i) the purpose of Court proceeding(s) or (ii) deposition(s) as
                  set forth in paragraph 12(n) above and is at all times subject to the transport
                  restrictions set forth herein. But, for those purposes only, the Source Code
                  Materials may be loaded onto a stand-alone computer.

              (p) Any outside expert or consultant retained on behalf of a Receiving Party who is
                  to be given access to a Producing Party’s Source Code Computer must agree in
                  writing not to perform software development work directly or indirectly
                  intended for commercial purposes related to any functionality covered by the
                  Source Code reviewed by such expert or consultant until issuance of a final,
                  non-appealable decision resolving all issues in the case. This shall not
                  preclude such experts or consultants from consulting in future litigation, so long as

  5
   The ability to store copies of Source Code Materials at homes of outside counsel and experts is
  being allowed as an accommodation for the COVID-19 pandemic



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                such consulting does not involve software development work directly or indirectly for
                commercial purposes related to functionality covered by the Source Code reviewed by
                such expert or consultant.

   13.   Absent the written consent of the Producing Party, no person on behalf of Plaintiff,

         including without limitation any outside consultant or expert of Plaintiff, who reviews

         any other Party’s Protected Material that is designated RESTRICTED --

         ATTORNEYS’ EYES ONLY and/or RESTRICTED CONFIDENTIAL SOURCE

         CODE (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, has

         access to, or otherwise learns, in whole or in part, the other Party’s HIGHLY

         SENSITIVE MATERIAL under this Order shall not engage in Prosecution Activity on

         behalf of the Receiving Party or its acquirer, successor, predecessor, or other affiliate

         regarding the encoding and decoding of cell identification information in

         synchronization signals, the conversion of dedicated line data signals to IP signals and

         vice-versa in the backhaul portion of a cellular network, and multi level of service

         provided by a femtocell base station, during the pendency of this Action and for one

         year after its conclusion, including any appeals. To ensure compliance with the

         purpose of this provision, Plaintiff shall create an “Ethical Wall” between those

         persons with access to HIGHLY SENSITIVE MATERIAL and any individuals who,

         on behalf of the Plaintiff or its acquirer, successor, predecessor, or other affiliate,

         prepare, prosecute, supervise or assist in the preparation or prosecution of any patent

         application on behalf of Plaintiff pertaining to the encoding and decoding of cell

         identification information in synchronization signals, the conversion of dedicated line

         data signals to IP signals and vice-versa in the backhaul portion of a cellular network,

         and multi level of service provided by a femtocell base station. This provision does not

         prohibit Plaintiff’s counsel of record or experts in this litigation from participating in or




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         representing it in reexamination proceedings, Post-Grant Review proceedings, Inter Partes

         Review proceedings, or Covered Business Method Review proceedings involving any patent,

         including the patents-in-suit. For clarity and avoidance of doubt, outside counsel of any

         Defendant or future intervenor in this action are not subject to this Prosecution Bar if they have

         received any other Party’s non-technical CONFIDENTIAL information or non- technical

         RESTRICTED -- ATTORNEYS’ EYES ONLY information other than through a violation of

         this Order.

   14.   Prosecution Activity shall mean any activity related to the preparation or prosecution

         (for any person or entity) of patent applications related to the encoding and decoding of

         cell identification information in synchronization signals, the conversion of dedicated

         line data signals to IP signals and vice-versa in the backhaul portion of a cellular

         network, and multi level of service provided by a femtocell base station or advising or

         counseling clients regarding the same, including but not limited to providing any

         advice, counseling, preparing, prosecuting, editing, amending and/or drafting of

         claims, or communication with a domestic or foreign patent office for purpose of

         allowance of any claims, for any patent application, reexamination or reissue

         application before any domestic or foreign patent office. Nothing in this paragraph

         shall prevent any attorney from sending non- confidential prior art to an attorney

         involved in patent prosecution for purposes of ensuring that such prior art is submitted

         to the U.S. Patent and Trademark Office (or any similar agency of a foreign

         government) to assist a patent applicant in complying with its duty of candor. Nothing

         in this provision shall prohibit any attorney of record in this litigation from discussing

         any aspect of this case that is reasonably necessary for the prosecution or defense

         of any claim or counterclaim in this litigation with his/her client.




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   15.   Nothing in this Order shall require production of documents, information or other

         material that a Party contends is protected from disclosure by the attorney-client

         privilege, the work product doctrine, or other privilege, doctrine, or immunity. The

         production or disclosure of documents, information, or other material by any Party or

         third-party in connection with this proceeding is subject to the provisions of Federal

         Rule of Evidence 502(d), which provides that any production or disclosure of any

         information (whether inadvertent or otherwise) that is subject to any applicable

         privilege or protection shall not be deemed a waiver of any privilege or protection in

         connection with the litigation pending before this Court, and shall not serve as a

         waiver in any other federal or state proceeding. See Fed. R. Evid. 502(d). Any Party

         that produces documents, information, or other material it reasonably believes are

         protected under the attorney-client privilege, work product doctrine, or other privilege,

         doctrine, or immunity may obtain the return of such documents, information or other

         material pursuant to any Discovery Order entered in this case.

   16.   There shall be no disclosure of any DESIGNATED MATERIAL by any person

         authorized to have access thereto to any person who is not authorized for such access

         under this Order. The Parties are hereby ORDERED to safeguard all such documents,

         information and material to protect against disclosure to any unauthorized persons or

         entities.

   17.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

         DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided

         that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible

         to have access to the DESIGNATED MATERIAL by virtue of his or her employment




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         with the designating party, (ii) identified in the DESIGNATED MATERIAL as an author,

         addressee, or copy recipient of such information, (iii) although not identified as an author,

         addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course

         of business, seen such DESIGNATED MATERIAL, (iv) a current or former officer, director or

         employee of the Producing Party or a current or former officer, director or employee of a

         company affiliated with the Producing Party; (v) counsel for a Party, including outside counsel

         and in-house counsel (subject to paragraph 11 of this Order); (vi) an independent contractor,

         consultant, and/or expert retained for the purpose of this litigation; (vii) court reporters and

         videographers; (viii) the Court; or (ix) other persons entitled hereunder to access

         DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be disclosed to any other

         persons unless prior authorization is obtained from counsel representing the Producing Party

         or from the Court.

   18.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

         deposition or hearing transcript, designate the deposition or hearing transcript or any

         portion thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES

         ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this

         Order. Access to the deposition or hearing transcript so designated shall be limited in

         accordance with the terms of this Order. Until expiration of the 30-day period, the

         entire deposition or hearing transcript shall be treated as RESTRICTED --

         ATTORNEYS’ EYES ONLY.

   19.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal

         and shall remain under seal until further order of the Court. The filing party shall be

         responsible for informing the Clerk of the Court that the filing should be sealed and

         for placing the legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE




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         ORDER” above the caption and conspicuously on each page of the filing. Exhibits to a

         filing shall conform to the labeling requirements set forth in this Order. If a pretrial pleading

         filed with the Court, or an exhibit thereto, discloses or relies on confidential documents,

         information or material, such confidential portions shall be redacted to the extent necessary

         and the pleading or exhibit filed publicly with the Court.

   20.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to

         prevent the Parties from introducing any DESIGNATED MATERIAL into evidence at

         the trial of this Action, or from using any information contained in DESIGNATED

         MATERIAL at the trial of this Action, subject to any pretrial order issued by this

         Court.

   21.   A Party may request in writing to the other Party that the designation given to any

         DESIGNATED MATERIAL be modified or withdrawn. If the Designating Party does

         not agree to redesignation within ten (10) days of receipt of the written request, the

         requesting Party may apply to the Court for relief. Upon any such application to the

         Court, the burden shall be on the Designating Party to show why its classification is

         proper. Such application shall be treated procedurally as a motion to compel pursuant

         to Federal Rules of Civil Procedure 37, subject to the Rule’s provisions relating to

         sanctions. In making such application, the requirements of the Federal Rules of Civil

         Procedure and the Local Rules of the Court shall be met. Pending the Court’s

         determination of the application, the designation of the Designating Party shall be

         maintained.

   22.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed

         in accordance with the terms of this Order shall be advised by counsel of the terms of

         this Order, shall be informed that he or she is subject to the terms and conditions of this



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         Order, and shall sign an acknowledgment that he or she has received a copy of, has

         read, and has agreed to be bound by this Order. A copy of the acknowledgment form is

         attached as Appendix A.

   23.   To the extent that any discovery is taken of persons who are not Parties to this Action

         (“Third Parties”) and in the event that such Third Parties contended the discovery

         sought involves trade secrets, confidential business information, or other proprietary

         information, then such Third Parties may agree to be bound by this Order.

   24.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties

         may designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES

         ONLY” or “RESTRICTED CONFIDENTIAL SOURCE CODE” any documents,

         information or other material, in whole or in part, produced or given by such Third

         Parties. The Third Parties shall have ten (10) days after production of such documents,

         information or other materials to make such a designation. Until that time period

         lapses or until such a designation has been made, whichever occurs sooner, all

         documents, information or other material so produced or given shall be treated as

         “RESTRICTED -- ATTORNEYS’ EYES ONLY” in accordance with this Order.

   25.   The provisions of this Order shall continue to be binding after final termination of this

         case until a Producing Party agrees otherwise in writing or a court order otherwise directs.

         Within thirty (30) days of final termination of this Action, including any appeals, all

         DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

         summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or

         extracts incorporated into any privileged memoranda of the Parties and materials which

         have been admitted into evidence in this Action), shall at the Producing Party’s




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         election either be returned to the Producing Party or be destroyed. The Receiving Party

         shall verify the return or destruction by affidavit furnished to the Producing Party, upon the

         Producing Party’s request.

   26.   The failure to designate documents, information or material in accordance with this

         Order and the failure to object to a designation at a given time shall not preclude the

         filing of a motion at a later date seeking to impose such designation or challenging the

         propriety thereof. The entry of this Order and/or the production of documents,

         information and material hereunder shall in no way constitute a waiver of any

         objection to the furnishing thereof, all such objections being hereby preserved.

   27.   Any Party knowing or believing that any other party is in violation of or intends to

         violate this Order and has raised the question of violation or potential violation with the

         opposing party and has been unable to resolve the matter by agreement may move the

         Court for such relief as may be appropriate in the circumstances. Pending disposition of

         the motion by the Court, the Party alleged to be in violation of or intending to violate

         this Order shall discontinue the performance of and/or shall not undertake the further

         performance of any action alleged to constitute a violation of this Order.

   28.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed

         a publication of the documents, information and material (or the contents thereof)

         produced so as to void or make voidable whatever claim the Parties may have as to the

         proprietary and confidential nature of the documents, information or other material or

         its contents.

   29.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation

         of any kind on the rights of each of the Parties to assert any applicable discovery or




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         trial privilege.

   30.   No Defendant or future intervenor is required to produce its DESIGNATED

         MATERIAL to any other Defendant or Defendants, or to any other Defendant’s or

         Defendants’ counsel, but nothing in this Order shall preclude such production.

         Notwithstanding the provisions of this Protective Order, Plaintiff shall not disclose one

         Defendant’s or intervenor’s DESIGNATED MATERIAL to any other Defendant or

         Defendants through Court filings, oral argument in Court, expert reports, deposition, discovery

         requests, discovery responses, or any other means, except upon compliance with Paragraph 4.

   31.   The Parties agree to meet and confer prior to the pretrial conference to negotiate a

         proposal for treatment of DESIGNATED MATERIAL at trial to be submitted for

         approval by the Court. In addition, the Parties will not oppose any request by the

         Producing Party that the courtroom should be sealed, if allowed by the Court, during

         the presentation of any testimony relating to or involving the use of any

         DESIGNATED MATERIAL.

   32.   In the event of any disclosure of DESIGNATED MATERIAL other than in a manner

         authorized by this Protective Order, including any unintentional or inadvertent

         disclosure, the Party responsible for having made such disclosure, and each Party with

         knowledge thereof, shall immediately notify counsel for the Producing Party and

         provide to such counsel all known relevant information concerning the nature and

         circumstances of the disclosure. The responsible disclosing Party shall also make every

         effort to further prevent unauthorized disclosure, including retrieving all copies of the

         DESIGNATED MATERIAL from the recipient(s) thereof, and securing the agreement

         of the recipients not to further disseminate the DESIGNATED MATERIAL in any

         form. Compliance with the foregoing shall not prevent the Producing Party from



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         seeking further relief from the Court. Unauthorized or inadvertent disclosure does not

         change the status of DESIGNATED MATERIAL or waive the right to hold the

         disclosed document or information as Protected.

   33.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

         this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

         entities if reasonably necessary to prepare and present this Action and (b) to apply for

         additional protection of DESIGNATED MATERIAL.

   34.   If at any time DESIGNATED MATERIAL in any form is subpoenaed by any court,

         arbitral, administrative or legislative body, or are otherwise requested in discovery, the

         person or entity to whom the subpoena or other request is directed shall immediately

         (a) notify in writing the person or entity who caused the subpoena or other request to

         issue that some or all of the material covered by the subpoena or request is subject to a

         Protective Order and include a copy of this Order with such notice, (b) give written

         notice thereof to every Party or nonparty, and their counsel, who has produced such

         documents and include a copy of the subpoena or request with such notice, and (c)

         provide each such Producing Party or nonparty with an opportunity to object to the

         production of such documents. The person or entity to whom the subpoena or other

         request is directed shall not take any position concerning the propriety of such request

         or subpoena or the discoverability of the information sought thereby that is adverse to

         any Producing Party or producing nonparty opposing the request for production of

         such documents or materials. If a Producing Party or nonparty does not take steps to

         prevent disclosure of such documents within ten business days of the date written

         notice is given, the Party to whom the referenced subpoena is directed may produce




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         such documents in response thereto, but shall take all reasonable measures to have

         such documents treated in accordance with terms of this Protective Order.

   35.   This Order is not a waiver of any applicable privilege or any objection that might be

         raised as to a discovery request or the admissibility of evidence. Nothing in this

         Protective Order shall be construed to prevent counsel from advising their clients with

         respect to this case based in whole or in part upon DESIGNATED MATERIAL,

         provided counsel does not disclose the DESIGNATED MATERIAL itself except as

         provided in this Order.

   36.   The United States District Court for the Eastern District of Texas is responsible for the

         interpretation and enforcement of this Agreed Protective Order. After termination of

         this litigation, the provisions of this Agreed Protective Order shall continue to be

         binding except with respect to those documents and information that become a matter

         of public record. This Court retains and shall have continuing jurisdiction over the

         Parties and recipients of the DESIGNATED MATERIAL for enforcement of the

         provision of this Agreed Protective Order following termination of this litigation. All

         disputes concerning DESIGNATED MATERIAL produced under the protection of

         this Agreed Protective Order shall be resolved by the United States District Court for

         the Eastern District of Texas. In the event anyone shall violate or threaten to violate

         the terms of this Protective Order, the aggrieved Designating Party may immediately

         apply to obtain injunctive relief against any such person violating or threatening to

         violate any of the terms of this Protective Order.

   37.   This Protective Order shall be binding upon the Parties and their attorneys,

         successors   executors,    personal    representative,   administrators,   heirs,   legal




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         representatives, assigns, subsidiaries, divisions, employees, agents, independent

         contractors, or other persons or organizations over which they have control.

   38.   Information Designated “PROTECTED PERSONAL DATA”: For purposes of

         this Order, “PROTECTED PERSONAL DATA” shall refer to any information

         relating to an identified or identifiable natural person, that a party or non-party believes in

         good faith to be subject to European Union data protection laws, including but not limited to

         Regulation (EU) 2016/679 of the European Parliament and of the Council (the “GDPR”)All

         Protected Personal Data produced or generated in this case shall be used solely for the

         prosecution or defense (including any appeal therefrom) of this litigation, and shall not be used

         for any other purpose. Protected Personal Data shall be processed in accordance with

         applicable data protection laws, such as the GDPR.

   39.   The Producing Party may redact PROTECTED PERSONAL DATA: (a) if the

         PROTECTED PERSONAL DATA is not responsive to the Receiving Party’s

         discovery request, (b) if the parties have agreed that the Producing Party need not

         produce this Protected Personal Data, or (c) if the Protected Personal Data is, by its

         nature, particularly sensitive or relates to criminal convictions and offences, unless the

         disclosure of such Protected Personal Data is strictly relevant to this litigation.

   40.   The Receiving Party may only disclose PROTECTED PERSONAL DATA to the

         persons or entities listed in Paragraph 6, provided that only the limited PROTECTED

         PERSONAL DATA which is necessary to be disclosed is actually disclosed.

   41.   If the Receiving Party learns that, by inadvertence or otherwise, it has disclosed

         PROTECTED PERSONAL DATA to any person not authorized herein, the Receiving

         Party must without undue delay and not later than within 48 hours notify the

         disclosing party of the unauthorized disclosure.




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   42.   If the disclosure of PROTECTED PERSONAL DATA to the Receiving Party leads to
   .
         a transfer of personal data from a country in the EU/EEA to a country outside the

         EU/EEA, the Producing Party and the Receiving Party (and any additional party

         receiving PROTECTED PERSONAL DATA) shall enter into the standard contractual

         clauses for the transfer of personal data to third countries pursuant to Regulation (EU)

         2016/679 of the European Parliament and of the Council adopted by the EU Commission on 4

         June 2021 (Module One: Transfer controller to controller) (implementing decision (EU)

         2021/914), prior to any disclosure, in which case the Receiving Party must at all times handle

         the Protected Personal Data in compliance with the terms of such standard contractual clauses.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 14th day of July, 2022.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE




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                            IN THE UNITED STATES DISTRICT
                           COURT FOR THE EASTERN DISTRICT
                             OF TEXAS MARSHALL DIVISION



    HOWLINK GLOBAL LLC,                           §
          Plaintiff,                              §        CASE NO. 2:22-cv-00040-JRG-RSP

           v.                                     §                     (Lead Case)

    AT&T, INC., et al.                            §
                                                               JURY TRIAL DEMANDED
          Defendants.                             §
                                                  §

    HOWLINK GLOBAL LLC,                           §
          Plaintiff,                              §        CASE NO. 2:22-cv-00042-JRG-RSP

           v.                                     §                   (Member Case)

    VERIZON COMMUNICATIONS, INC., et              §
    al.,                                                       JURY TRIAL DEMANDED
                                                  §
          Defendants.
                                                  §


                                    APPENDIX A
                       UNDERTAKING OF EXPERTS OR CONSULTANTS
                            REGARDING PROTECTIVE ORDER
         I,                                                        , declare that:

   1.    My address is                                                                          .

         My current employer is                                                                 . My current occup

   2.    I have received a copy of the Protective Order in this action. I have carefully read

         and understand the provisions of the Protective Order.

   3.    I will comply with all of the provisions of the Protective Order. I will hold in
         confidence,




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          will not disclose to anyone not qualified under the Protective Order, and will use only

          for purposes of this action any information designated as “CONFIDENTIAL,”

          “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or “RESTRICTED

          CONFIDENTIAL

          SOURCE CODE” that is disclosed to me.

   4.     Promptly upon termination of these actions, I will return all documents and things

          designated as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’ EYES

          ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my

          possession, and all documents and things that I have prepared relating thereto, to the

          outside counsel for the party by whom I am employed.

   5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of

          the Protective Order in this action.

          I declare under penalty of perjury that the foregoing is true and correct.

   Signature

   Date




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